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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                     )
                                              )
                       Plaintiff,             )
                                              )
              -vs-                            )      No. M-20-94-P
                                              )
RANDY LEW WILLIAMS,                           )
                                              )
                       Defendant.             )


              UNOPPOSED MOTION TO SEAL RESPONSE TO
           DEFENDANT’S MOTIONS TO RECONSIDER DETENTION


       COMES NOW the plaintiff, United States of America, by Timothy J. Downing,

United States Attorney for the Western District of Oklahoma, through Matt Dillon,

Assistant United States Attorney and respectfully submits this Application to file its

response to Defendant’s motions to reconsider detention [Doc. Nos. 22 and 23], pursuant

to LCrR12.2. In support of this Application, Plaintiff states as follows:

       The United States requests to file their response under seal because the response

will contain information concerning the Defendant’s medical issues that should not be

made part of the public record.

       WHEREFORE, the United States prays this Court grant this Motion to file their

response under seal.
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                                                 Respectfully submitted,

                                                 TIMOTHY J. DOWNING
                                                 United States Attorney


                                                 s\MATT DILLON
                                                 Assistant U.S. Attorney
                                                 Bar No. 19321
                                                 210 Park Avenue, Suite 400
                                                 Oklahoma City, Oklahoma 73102
                                                 (405) 553-8700 (Office)
                                                 (405) 553-8888 (Fax)
                                                 Matthew.Dillon@usdoj.gov




                             CERTIFICATE OF SERVICE

      I hereby certify that on April 30, 2020, I electronically transmitted the attached
document to the Clerk of Court using the ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrants: Julia Summers’


                                                       s/ MATT DILLON
                                                       Assistant United States Attorney




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